Case 4:17-cr-00055-MAC-KPJ Document 85 Filed 11/05/20 Page 1 of 4 PageID #: 480




 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                       §
                                                §
 versus                                         §     CASE NO. 4:17-CR-55
                                                §
 CHRISTOPHER LAVELL MCFADDEN                    §

                               MEMORANDUM AND ORDER

          Pending before the court is Defendant Christopher Lavell McFadden’s (“McFadden”) pro

 se Motion for Reconsideration (#81), wherein McFadden requests that the court reconsider its June

 26, 2020, memorandum and order denying his motions for compassionate release (#79). United

 States Pretrial and Probation Services (“Probation”) submitted an updated report, which

 recommends the denial of McFadden’s motion. The Government filed a response in opposition

 (#82). Subsequently, McFadden filed a reply to the Government’s response (#83), as well as a

 letter Motion for Home Confinement (#84).          Having considered the pending motions, the

 recommendation of Probation, the Government’s response, the record, and the applicable law, the

 court is of the opinion that the motions should be denied.

 I.       Background

          In its June 26, 2020, Memorandum and Order, the court considered McFadden’s requests

 for compassionate release on the merits and determined that although McFadden’s condition—renal

 failure—qualifies as terminal, his demise is not imminent, as he indicates that he may live from

 five to ten more years, and his projected release date is August 27, 2022. The court further

 considered that despite McFadden’s medical conditions, including renal failure and insulin-

 dependent diabetes, he appeared able to function in the prison setting and his medical needs were

 being met by the Bureau of Prisons (“BOP”). The court also held that McFadden’s concerns
Case 4:17-cr-00055-MAC-KPJ Document 85 Filed 11/05/20 Page 2 of 4 PageID #: 481




 regarding COVID-19 did not constitute an extraordinary and compelling reason justifying a

 reduction in his term of imprisonment. Finally, the court held that after considering the factors

 set forth in 18 U.S.C. § 3553(a), a reduction was not warranted and that it could not conclude that

 McFadden would not pose a danger to any other person or to the community, if released from

 confinement.      See United States v. Chambliss, 948 F.3d 691, 693 (5th Cir. 2020)

 (“[C]ompassionate release is discretionary, not mandatory, and [may] be refused after weighing

 the sentencing factors of 18 U.S.C. § 3553(a).”).

 II.    Analysis

        At the outset, the court notes that McFadden’s reliance on Rule 59(e) is misplaced as this

 is a criminal proceeding. See FED. R. CIV. P. 1 (“These rules govern the procedure in all civil

 actions and proceedings in the United States district courts[.]” (emphasis added)); United States

 v. Garcia, 804 F. App’x 274, 275 (5th Cir. 2020) (“[C]ivil rule does not apply in criminal

 cases.”); United States v. Moore, 671 F. App’x 349, 350 (5th Cir. 2016) (same), cert. denied, 137

 S. Ct. 2103 (2017). Furthermore, “the Federal Rules of Civil Procedure do not apply to motions

 under § 3582.” United States v. Goodwyn, 596 F.3d 233, 235 n.* (4th Cir.), cert. denied, 561

 U.S. 1036 (2010); see United States v. Norwood, 755 F. App’x 813, 815 (10th Cir. 2018) (“[T]he

 Rules of Civil Procedure do not apply to [defendant’s] § 3582 motion.”); United States v. Calton,

 900 F.3d 706, 713-14 (5th Cir. 2018) (stating that “a § 3582(c)(2) motion is not a civil

 postconviction action but a step in a criminal case” (quoting United States v. Alvarez, 210 F.3d

 309, 310 (5th Cir. 2000))). In short, Rule 59(e) does not provide the relief sought by McFadden.

        In his current motions, McFadden does not raise any substantial factual or legal issues

 warranting relief, show that he is receiving inadequate health care at the federal medical center


                                                 2
Case 4:17-cr-00055-MAC-KPJ Document 85 Filed 11/05/20 Page 3 of 4 PageID #: 482




 where he is housed, or demonstrate that he would not pose a risk to society, if released. Rather,

 McFadden reasserts that compassionate release is warranted in his case because of his serious

 medical conditions—he has renal failure, is dependent on dialysis, and is a diabetic—and the threat

 of COVID-19. McFadden also cites to a recent opinion from a district court in the Southern

 District of Texas, United States v. Jackson, wherein the court granted compassionate release to

 a defendant who was suffering from end-stage kidney disease. No. 4:14-CR-00576, 2020 WL

 1955402, at *6 (S.D. Tex. Apr. 23, 2020). A decision of the district court in the Southern

 District of Texas, however, is not binding on this court. See Camreta v. Greene, 563 U.S. 692,

 709 n.7 (2011) (“A decision of a federal district court judge is not binding precedent in either a

 different judicial district, the same judicial district, or even upon the same judge in a different

 case.”); United States v. Hanzy, 802 F. App’x 850, 852 (5th Cir. 2020).

        Moreover, Jackson is factually distinguishable. In Jackson, the Government never filed

 a formal response to Jackson’s motion, as it has in McFadden’s case. In addition, the defendant

 in Jackson suffered from chronic lung disease, hypertension, heart disease, ANCA vasculitis, an

 autoimmune disorder, as well as end-life kidney disease, and his health was “rapidly

 deteriorating.” 2020 WL 1955402, at *5. He had a history of pneumonia, for which he was

 hospitalized several times, used oxygen daily while sleeping, and took prednisone daily to treat

 shortness of breath. Id. at *1. McFadden, in contrast, appears to be in stable condition. In fact,

 McFadden stated in a prior motion (#68) that he may live five to ten more years. Probation’s

 updated report confirms that McFadden is a dialysis patient living in an ambulatory unit who

 requires no assistance with his activities of daily living. The Government also points out that

 McFadden’s condition is stable and effectively managed with treatment at the facility where he is


                                                 3
Case 4:17-cr-00055-MAC-KPJ Document 85 Filed 11/05/20 Page 4 of 4 PageID #: 483




 housed. Thus, McFadden fails to present any novel legal arguments or new bases justifying his

 early release that were not previously considered and ruled on in the court’s prior order (#79).

        To the extent that McFadden requests the court to place him on home confinement, the

 Bureau of Prisons (“BOP”) has the exclusive authority to determine where a prisoner is housed;

 thus, the court is without authority to order home confinement. 18 U.S.C. § 3621(b); Ambriz v.

 United States, No. 4:20-CV-568-P, 2020 WL 3066861, at *2 (N.D. Tex. June 5, 2020); United

 States v. Miller, No. 2:17-CR-015-D (02), 2020 WL 2514887, at *1 (N.D. Tex. May 15, 2020)

 (“[N]either the CARES Act nor the First Step Act authorizes the court to release an inmate to

 home confinement.”). Moreover, Probation informs the court that the BOP is in the process of

 once again reviewing McFadden’s eligibility for home confinement under the CARES Act.

 III.   Conclusion

        In accordance with the foregoing, McFadden’s Motion for Reconsideration (#81) and letter

 Motion for Home Confinement (#84) are DENIED.

         SIGNED at Beaumont, Texas, this 5th day of November, 2020.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE




                                                4
